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                    UNITED STATES COURT OF APPEALS                        FILED
                             FOR THE NINTH CIRCUIT                         DEC 1 2022
                                                                      MOLLY C. DWYER, CLERK
                                                                        U.S. COURT OF APPEALS
In re: CHARLES MICHAEL COLBURN,                 No.    22-16350

             Debtor,                            D.C. No. 2:21-cv-01630-SMM
______________________________                  District of Arizona,
                                                Phoenix
CHARLES MICHAEL COLBURN,
                                                ORDER
                Appellant,

 v.

DAVID M. REAVES, Chapter 7 Trustee;
MEDMEN ENTERPRISES, INC.,

                Appellees.

      Pursuant to the stipulation of the parties (Docket Entry No. 7), this appeal is

voluntarily dismissed. Fed. R. App. P. 42(b). The parties shall bear their own

costs and attorneys’ fees on appeal.

      A copy of this order shall serve as and for the mandate of this court.


                                              FOR THE COURT:


                                              By: Jonathan Westen
                                              Circuit Mediator
